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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MARYLAND
 DEBORAH LAUFER,
 Plaintiff,

 v.                                               Case No. 1:20-cv-03265-SAG

 HITESHBHAI PATEL,
 Defendant


   PLAINTIFF’S MEMO IN OPPOSITION TO DEFENDANT’S NOTICE
      REGARDING FAILURE TO DESIGNATE RELATED CASES

      Comes now Plaintiff, (hereinafter “Plaintiff”), by and through her attorney, in

opposition to Defendant’s Notice Regarding Failure to Designate Related Cases

Pursuant to Local Rule 103.1(b). Specifically, Plaintiff states:

1. Contrary to Defendant’s assertion, the instant Complaint does not arise from the

same or identical transaction to any other case because each hotel online reservation

system (“ORS”) is different;

2. no other case involves identical parties (all defendants are different);

3. no other case involves the same property (every hotel and ORS is different);

4. and, no other court has ever held that such things are related cases; and

5. defendant completely fails to cite any authority in support of its frivolous theory.

Local Rule 103.1.b.i provides that a plaintiff may designate a case as related to

another case or cases "previously decided or pending" if, in relevant part, they: (1)

"arise from the same or identical transactions, happenings, or events"; (2) "involve
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the identical parties or property"; or (3) "for any other reason would entail substantial

duplication of labor if heard by different judges." If the plaintiff does not designate

a case as related to a prior case, defense counsel "shall bring that information to the

attention of all parties and the Clerk." Local Rule 103.1.b.ii. Any disputes regarding

whether a case is related to another case "shall be presented by motion to the judge

to whom the new or later case has been assigned." Local Rule 103.1.b.iii. Defendant

contends that the cases are related because "both Plaintiffs make the same factual

allegations and assert the same causes of action against the same Defendants."

Defendant’s contention lacks merit. First, even though Plaintiff filed similar

Complaints that bring the same causes of action, these complaints involve different

Defendants, and as such, they do not "arise from the same or identical transactions,

happenings, or events." Local Rule 103.1.b.i.(1). Second, the cases do not involve

identical parties—the defendants are different. Different defendants have their own

distinct ADA violations, and, as a result, different information that Defendants may

have failed to disclose. Third, Defendant’s concerns over duplicating efforts and

avoiding inconsistent outcomes are unwarranted. See, Frazier v. Experian Info.

Sols., 2018 U.S. Dist. LEXIS 214759, at 4-5 (D. Md. Dec. 21, 2018).


Respectfully Submitted,

/s/ Tristan W. Gillespie

Tristan W. Gillespie, Esq.
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THOMAS B. BACON, P.A.
5150 Cottage Farm Rd.
Johns Creek, GA 30022
Tel: 404.276.7277
gillespie.tristan@gmail.com
